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           LOCAL // TEXAS



           Two men have died in Texas prison cell ﬁres after
           warnings of broken alarms were ignored
                       Keri Blakinger, The Marshall Project
                       May 9, 2022




              HOW CELL FIRES GET STARTED                               'OFFICER ON DUTY' RECALLS BLAZE                                        'LONG HISTORY OF NONCOMPLIANCE'                                INVESTIGATION ONGOING




                                                                                                                                                                                                   3




           1 of 3

           A recent fatal cell ﬁre occurred at the Gib Lewis Unit, a Texas state prison near Woodville.
           Eli Durst




                             This article was published in partnership with The Marshall Project, a nonproﬁt
                             news organization covering the U.S. criminal justice system. Sign up for their
                             newsletters, and follow them on Twitter, Instagram and Facebook.


                             The last time the other prisoners saw Jacinto De La Garza alive, he had his face
                             pressed against the glass panel of his cell door, his mouth contorted and
                             gasping for breath.


                             Black smoke curled around his head, they said, and ﬂames leapt from the
                             burning pile of clothes behind him.



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                             The other men shouted and threw trash at the lone guard on duty, trying to
                             goad him into action.


                             Minutes passed. The smoke thickened.


                             “Then, we didn't hear anything,” said Elijah Woods, who lived in the cell next
                             door in a high-security section of the Gib Lewis prison in East Texas. Woods is
                             among a half dozen incarcerated men who described the Nov. 11, 2021, blaze in
                             interviews with and letters to The Marshall Project.


                             Prison investigators ﬁrst described the 26-year-old De La Garza’s death as a
                             heart attack. But in a later report, they said that he died of smoke inhalation,
                             trapped in his burning cell. His was one of two such deaths in the Texas prison
                             system in less than six months. In March, Damien Bryant, 31, died in a cell ﬁre
                             at a prison 120 miles away; the corrections department said he may have been
                             suicidal.


                             At some Texas lockups, cell ﬁres are part of life behind bars. For years,
                             prisoners and staﬀ say, starting them has been one of the ways that men in
                             solitary air their grievances when they can’t get medical attention, warm food
                             or a chance to go outside for recreation.


                             But if the state had done its part years earlier, the deaths of De La Garza and
                             Bryant might have been prevented.


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                             For more than a decade, the Texas prison system has ﬂouted state ﬁre-safety
                             standards by failing to address inspectors’ concerns about inadequate alarm
                             systems. Without sprinklers to douse a blaze or functioning alarms to force
                             guards to respond, prisoners have said, ﬁres in some housing areas have
                             burned for hours.


                             The Marshall Project ﬁrst uncovered the safety failings in late 2020, when men
                             reported setting ﬁres to protest deteriorating COVID conditions. A state report
                             issued one month after De La Garza’s death shows that while the agency
                             corrected some violations, it did not come close to ﬁxing the problem, noting
                             that “most of the ﬁre alarm systems aren’t functioning properly.”


                             At Gib Lewis, the most recent ﬁre safety inspection report — from 2018 —
                             found that there were no sprinklers, the smoke detectors had not been
                             maintained and there was no power going to the ﬁre alarms in many housing
                             areas..


                             An agency spokesman conﬁrmed that the ﬁre alarm system there is still not
                             functional in all housing areas. But he disputed that ﬁre-equipment lapses
                             played a role in De La Garza’s death. “Staﬀ failed to follow policy or training,”
                             Robert Hurst wrote in an email. “It was their level of complacency and not an
                             equipment issue that resulted in the serious incident.”


                             How cell fires get started
                             There are a few ways to start a ﬁre in a Texas lockup. Because lighters and
                             matches are banned, prisoners repurpose wires from fans, radios and hot pots
                             to create a heating coil, or they stick razors and graphite pencils into the
                             outlets in their cell walls to spark ﬂames. Then, they hold pieces of paper close
                             by to catch the blaze. When the ﬁres get big enough, they often toss the
                             ﬂaming balls of paper out of their cells to burn in common areas.


                             “Fires happen all the time,” Maurice Christie, who is also incarcerated at Gib
                             Lewis, wrote in a letter. “It’s been going on forever — I started my ﬁrst ﬁre
                             because the pill lady passed my cell and wouldn’t acknowledge me.”


                             Amid staﬀ shortages and months-long lockdowns during the pandemic, some
                             prisoners used contraband phones to share images of the ﬁres with The
                             Marshall Project.


                             Many states have ﬁre-safety systems in all areas housing prisoners. Of the 30
                             prison agencies that responded to The Marshall Project’s questions, 25 said
                             there were alarms or sprinklers in housing units. Three states indicated that
                             was true in most prisons, and one — Florida — refused to say.
                                                                                                                                                                                                                    NEWSLETTER


                             Texas did not respond to questions about whether its ﬁre-safety systems cover                                                                                                          Morning Report
                             all housing areas. Several prisoners laughed when asked if they’d ever lived in                                                                                                        The Houston area's best
                                                                                                                                                                                                                    journalism to start your day
                             prison housing with working smoke detectors or sprinklers.
                                                                                                                                                                                                                    Email

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                             “That's not in our vocabulary,” said David Pedraza, who befriended De La
                             Garza in his ﬁnal days at Gib Lewis, which is on the outskirts of Woodville,                                                                                                          By signing up, you agree to our Terms of use and acknowledge that your information
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                                                                                                                                                                                                                 LATEST LOCAL NEWS
                             'Officer on duty' recalls blaze
                                                                                                                                                                                                                    3 children found alone during apartment fire
                                                                                                                                                                                                                    in east Houston
                             When De La Garza went to prison for aggravated assault in 2019, his family
                             visited regularly, relatives said. But then the corrections department moved
                                                                                                                                                                                                                    Judge declines to sign death warrant for
                             him further from their home in South Texas, and the pandemic shut down all                                                                                                             Harris County defendant amid...
                             visitation.

                                                                                                                                                                                                                    Texas Children's now giving Pfizer vaccine
                             His letters home remained upbeat, but he was rarely able to use the phone,                                                                                                             boosters to kids 5-11
                             said his sister, Emily De La Garza.
                                                                                                                                                                                                                    Man fatally shot in Third Ward, Houston police
                                                                                                                                                                                                                    say
                             “He would go months without him reaching out to us,” she said. Relatives
                             began to worry he’d fall back into depression, or drug use.
                                                                                                                                                                                                                    UH developing model to address impacts of
                                                                                                                                                                                                                    family separations
                             Other prisoners all described him as quiet, but several said they noticed a
                             change in early November. They watched him pace in his cell, talking to
                             himself. Next door, Woods heard him raging.


                             “He was beating on the steel bunk and toilet,” he said. “For three or four days
                             this was going on.”


                             It seemed that his neighbor was frustrated because he hadn’t been outside for
                             days, Woods said. The prison, like many others in Texas, was understaﬀed,
                             with almost half the guard positions unﬁlled.


                             The oﬃcer on duty — a new hire named Cody DeGlandon — said in an
                             interview that De La Garza seemed agitated and paranoid. Eventually, the man
                             threatened to set a ﬁre if the oﬃcer didn’t get someone higher up to come
                             down.


                             And a little after 7 p.m., DeGlandon called for help, he said, but higher-ups
                             told him to wait to see if the situation got more serious. So he turned his
                             attention to other tasks.


                             The blaze started small, but then De La Garza added more fuel, tossing on his
                             jacket and the stuﬃng from his mattress.


                             “The ﬂames reached half the door and I couldn't see my friend anymore,”
                             wrote Pedraza, who lived in a cell across from De La Garza. “When I no longer
                             saw him at the door, I called the guard and told him he better do something to
                             get him out of there, or I’d misbehave.”


                             The other men started shouting and banging. As the smoke grew thicker,
                             Woods struggled to breathe in his own cell, he said. When DeGlandon noticed
                             how big the blaze was, he said, he called again for help.


                             He was worried that opening the high-security cell without back-up could
                             violate agency policies he’d just learned about during his six-week training. On
                             the other hand, he didn’t want De La Garza to get hurt.


                             “I was so concerned about making the right decision,” he said. “It was damned
                             if I do, damned if I don’t.”


                             From the neighboring cell, Woods watched as Sgt. Danna Warren ﬁnally
                             arrived, to see if the oﬃcers might open the cell door and save De La Garza.


                             But they did not.


                             “I don’t care if he dies,” Woods remembered hearing the sergeant say. Other
                             prisoners and the guard had similar recollections. The sergeant could not be
                             reached for comment. The agency said it could not conﬁrm her remark.


                             By the time the sergeant left, Woods estimated, more than half an hour had
                             passed since the blaze began and De La Garza remained trapped in the cell.
                             Even as the ﬂames died, the smoke kept swirling.


                             Panicked, DeGlandon poured buckets of water through the small gap at the
                             bottom of De La Garza’s door. “I wish I could have done more,” he said.


                             'Long history of noncompliance'
                             For at least a decade, the State Fire Marshal’s Oﬃce has dinged Texas prisons
                             for a “long history of noncompliance” with state ﬁre-safety standards. Last
                             year’s annual inspection report found more than 1,600 violations, including
                             the non-functional ﬁre alarms, and no clear timeline for ﬁxing them.


                             The corrections department also failed to install smoke detectors in many staﬀ
                             housing areas, had no records of inspection or testing for ﬁre doors and had
                             electrical violations in every unit inspected.


                             Prison oﬃcials said the agency plans to ask Texas state lawmakers for the more
                             than $55 million in funding needed to tackle the remaining issues system-
                             wide.


                             To experts, the continuing inability to meet state safety standards indicates a
                             major problem.


                             “Fire safety is one of the things that is so fundamental for prison oﬃcials,” said
                             Michele Deitch, a senior lecturer in criminal justice at University of Texas at
                             Austin. “You’ve got a trapped population with no ability to get them out
                             quickly or easily.”


                             Investigation ongoing
                             By the time DeGlandon called for help a third time and a lieutenant showed up
                             with a team of oﬃcers, Woods estimated that some 45 minutes had passed.
                             The guards opened De La Garza’s door, and smoke billowed out. There was no
                             movement inside.


                             Oﬃcers pulled out his body. One of his thick rubber shower shoes was melted
                             onto his foot, prisoners said.


                             “They took him out on a gurney, but we all knew the truth,” Woods said. “He
                             was dead.”


                             Afterwards, investigators showed up to ask questions and take statements.
                             Almost a month later, DeGlandon resigned. “I spent a year in Iraq with the
                             Army and everyone came back alive, and I spent two months in prisons and
                             this happened,” he said.


                             The sergeant involved in the incident was ﬁred and the lieutenant resigned,
                             according to the prison agency. Another sergeant was demoted and a captain
                             given six months of probation. None of them could be reached for comment.


                             Though a November report showed the inspector general’s oﬃce opened a
                             manslaughter investigation, prosecutors said no charges have been ﬁled
                             because the death is still being investigated.


                             The agency said the deaths of De La Garza and Bryant were both “isolated
                             incidents” and that contractors had been selected to ﬁx infrastructure
                             problems at both prisons.


                             Meanwhile, De La Garza’s family has retained Houston-based lawyers Randy
                             Sorrels and Ruth Rivera to look into the incident.


                             Back at Gib Lewis, the men who witnessed his death said it still haunts them.


                             “I still sometimes envision him struggling for his life,” Pedraza said, “putting
                             his face in that little window, trying to get air.”




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                                            Written By
                                            Keri Blakinger

                             Keri Blakinger covered breaking news, prisons and the death penalty. She was hired at
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